  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA               )
                                       )          CRIMINAL ACTION NO.
        v.                             )             2:21cr49-MHT
                                       )                  (WO)
GREGORY EARL CORKREN                   )

                      FORFEITURE MONEY JUDGMENT

    This       cause     comes     before          the    court    on   the

government’s        motion   for   a       forfeiture     money   judgment

against defendant Gregory Earl Corkren in the amount of

$ 679,595.00.         Defendant Corkren has consented to the

entry of a forfeiture money judgment in this amount.

    Being      fully    advised    of       the    relevant   facts,    the

court hereby finds that defendant Gregory Earl Corkren

obtained       at    least     $ 679,595.00          in   proceeds      from

conspiracy to which he pled guilty.

    Accordingly, it is ORDERED, ADJUDGED, and DECREED

that,    for   good    cause     shown,      the    government’s     motion

(Doc. 331) is granted.

    It is further ORDERED that, pursuant to 18 U.S.C.

§ 982(a)(2) and Rule 32.2(b)(2) of the Federal Rules of
Criminal        Procedure,    defendant          Gregory     Earl        Corkren

shall be held liable for a forfeiture money judgment in

the amount of $ 679,595.00.

    It    is     further     ORDERED       that,     upon   entry    of     this

order, it shall become a final order of forfeiture as

to the defendant.

    The     court      retains      jurisdiction        to       address     any

third-party        claim     that    may        be   asserted       in     these

proceedings, to enter any further order necessary for

the forfeiture and disposition of such property, and to

order    any     substitute    assets       forfeited       to    the    United

States     up     to   the    amount       of    the   forfeiture          money

judgment.

    DONE, this the 11th day of May, 2022.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE




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